                 Case 2:25-cv-00355-AH-JC                           Document 1-1                  Filed 01/10/25              Page 1 of 7 Page ID
                                         UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                     #:188
                                                              CIVIL COVER SHEET
 .
 1 (a)PLAINTIFFS (Check box if you are representing yourself QX)                          DEFENDANTS            (Check box if you are representing yourself ❑ )
 Joseph D Giiberti PE,a licensed Pro6essional F~ginee~ in tfie Sbte of Florida             David Mayer de Rothschild et al.



(b)County of Residence of First Listed Plaintiff Lee County, FL                           County of Residence of First Listed Defendant
(EXCEPTIN US.PLAINTIFF CASES)                                                             pN US.PLA/NT1FF CASES ONLY

(c)Attorneys(Firm Name,Address and Telephone Numbed If you are                            Attorneys(Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                                     representing yourself, provide the same information.
 LandTech Design Group lnc.,
 385 Donora Bivd Fort Myers Beach FL,33937
 813-470-6000

 II. 8A515 OF JURiSDiC710N (Place an X in one box only.)                           111. CT~IZENSHIP OF PRINCIPAL PAR77E5-For Diversity Cases Oniy
                                                                                        (Place an X in one box for plaintiff and one for defendant)
    1.U.S. Government               ~3. Federal Question (U.S.                    ~~~                         ~ 1 ~ t  ~"~~°~ted or Prindpal Place      ~4 ~ 4
                                                                                            This State
    Plaintiff                                                                                                          of Business in this State
                                     Government Not a Party)
                                                                                  Citiizen of Another State   ~x ~ ~ 2 Incorporated and Principal Place ❑ 5 ~ 5
                                                                                                                       of Business in Aratfier State
    2.US.Government                  X 4. piversity(indicate Crtrzenship          CrtQer+ or Subject of a
                                                                                                              ❑ 3 ~ 3 Foreign Nation                    ❑ 6 Ox 6
    Defendant                          of Parties in Item III)                    Forei9n Country

 N.ORIGIN (Place an X in one box only.)                                                                                           ~. Mu~d~;ct
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       Proceeding ~ State Court   ~ Appellate Court ❑ Reopened       ~ Distrkt (SPAY)             ~                                Tr           ~     DirerIle


 V.REQUESTED IN COMPLAINT: JURY DEMAND: OX Yes ~ No                                         (Check "Yes" only if demanded in complaint.)
CLA55 ACTION under F.R.Cv.P.23: ~Yes OX No                                 ~ MONEY DEMANDED IN COMPLAINT: $ 300,000,000
VI. CAUSE OF AC7'fON (Qbe the US.Gvfi Stahite urxier which you are filing and write a briefstatement of cause Do not ate jurisdicti~al statutes unless diversity.)
 Organ¢ed Fraud, Racketeering.Terrorism per Tttle 42,22,18 USC


 Vil. NATURE OF SUIT(Place an X in one box only).
     OTHER STATUTES                 CONTRACT     REAL PROPERTY CONT.        IMMIGRATION             oftl50NEif PET1TiON5          PROPERTY RIGHTS
   375 False Uaims Act        ❑ 110 Insurance    ~  240   Torts to Land  ~ 462  Naturelization         Habeas   corpus:      ~ 820 Copyrights
                                                                           ~~tion                 ~ 463 Alien ~inee
   376 Qui Tam              ~ 120 Marine         ❑ 245 Tort Product                                                          ~ g30 Patent
  (31 USC 3729(a))                                   Llabillty             465 Other              ~ 510 Motlons to Vacate
                            ❑ 130  Miller Ac[    ~   290  All Other Real ❑ Immigration   Actions    fence                      835 Paterrt -Abbreviated
   400 State
                                                                                 TgRs             ❑  530 General             ~ New O►ug Application
    Reapportionmerrt          140 N                 ~
    410 Antitrust           ~ Instrume~nta~               T~~            PERSONAL PROPERT1f ❑ 535 Death Pe~atty              ~ gqp Trademark
                              1SO Recovery of      PERSONAL     INJURY   ~                                                   ❑ 880 Defend Trade Secrets Ad
   430 Banks and Banking                                                   370 Other Fraud               ~~'
                              Overpaymerrt & ~ 370 Airplane                                       ~ 540 MandamuslOttier        of 2016(DTSA)
   450 CommercellCC           Er~forcemerK of       315 Airplane         ~ 37i Truth in Lending
    Rates/Etc.                Judgment           ❑ Product Liability                                                               SOCIAL SECURITY
                                                                           3gp per Personal ~ 550 Civil Rights
   ~~             ~           157 Mediore Act       320 Assault, Libel & ~ P          Da                                       861 9iW(1395f~
    470 Racketeer lrtflu-   ~                    ~ Slander                              ~'~       ~ 555 Prison Condition
    enced &Corrupt Org.       752 Recovery of                              385 Pro  e    Dama   e                              862  Black Lun 42
                                                    330 Fed. Employers' ❑ productPLiability
                                                                                       m'      9     560 Clvll Detainee      ~               9 ~ 3~
   480 ConwmerCredit ❑ Defaulted Student ~ Liability                                              ❑ Conditions of            ~ 863 DIWC/DIWW(405(9))
                              Loan (Exd_ Vet)                               BANIOtttPTCY             Caifinement
   485 TelepFwne                                 ❑340 Marine
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   490 CaWe/Sat N           ❑ ~~Y~^tof ❑ Liability                                                                           ❑865 RSI(405 L9))
                              Vet BenefiCs                                 4231Afittedrawai 2B    ~, 6
                                                                                                     5eiztue ~Property 27
   850 Securities/Com-                           ~ 350 ARotor VehicPe    ~ USC 157                   USC 881                     FOAL TAX SliTfS
    modities/Exchange         160 Stockholders'
    $~~5~~                  ~ Suits                 355 Motor
                                                 ~ ~~            Vehide
                                                               ~~~,         CML RIGHTS            ~  690 Other               ~ 870  Taxes NS.Plaintiff or
    Actions                 ~ 190 p~                ~p p~~ Personal ~ ~~~GPI ~~                            u~                  871 IFS-aThird Party 26 USC
    891 Agricultural Acts     Contract           ❑ injury                ~ 44t Voting             ~ A~0 Fair Labor Standards ❑ 7~
   843 Environmental          195 Contract          362 Personal Injury-
                            ~ Product Liability ~ Med Mlalpratice        ~ 442 ~rteR~       t     ~ 720 tabor/MSgmt
    Matters                                                                                          Relations
                                                    365 Personal Injury-   ~3 Housing/
   895 Freedom of Info.       196 Franchise
 ❑ Act                      ~~~~y ~ Product Liabil'ttY                   ~ Accommodations         ~ 740 Railway Labor Act
                                                    367 Heaftl~ Care/      ~5 American with
 ❑ 896 Arbi~atio~                                                                                 ~ 757 Fami and Medical
   899 Admin.Procedures     ❑ ~~~'~~             ❑  ~~~~~                ❑ ~~~
                                                                           Employment                Leave Ad
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   Act/Review of Appeal of ~ 220 Foreclosure        Product Liability    ~ 446 American with ~ 790 Other Labor
   Agency Decision                                  ~g q                   Disabilities-Otfier
   450 Constitutionaiiry of ~ X30 fient E-ease & ~ personal injury       ~ q4g Education          ~ 791 Employee Re4. Inc.
   State Statutes             E       ent                                                            Security Ad

 FOR OFFICE USE ONLY:                    Case Number. ~ : ~Z S -c v - p p 3SS - Pr 1-~(J C x)
 N-77 (06/24)                                                                    CIVIL COVER SHEET                                                    Page 1 of 3
                 Case 2:25-cv-00355-AH-JC                              Document 1-1            Filed 01/10/25                Page 2 of 7 Page ID
                                           UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                       #:189
                                                                CIVIL COVER SHEET

VIII. VENUE Your answer to tfie questions below will determine the division oftfie Court to wfiich this case will be initially assigned_ This initial assignment is subject
to change,in accordance with the Courts General Orders, upon review by the Court of your Complaint or Notice of Rertwval.
QUESTION A: Was this case removed
from state court;                                                 STATE CASE WAS PENDING IN TFlE COUKiY OF:                                 INffiAL DMSION IN CACD I5:
               Yes ~x No
                                                 Los Angeles, Ventura,Santa Barbara,or San Luis Obispo                                                Western
ff'no,'skip to Question B. ff'yes,'check tt~e
box to the right that applies, enter the      L~ ~~'9e                                                                                               ~~^
correspor►ding division in response to
Question E, below, and continue from there. ❑ R^ier~de or San Bernardino                                                                              Eastern


QUESTION B: ES the United States,or 8.1. Do 5096a more ofthe defendarKs who reside in                     y~ Your case wii{ inrtiai9y be assigned to the Southern ~ivision.
one of its agencies or employees,a  ~d~~ ~~e ~^                 ~T                                      ~ Enter'Southem'in response to Question E, below,and continue
PLAINTIFF in this actionl                                                                                 from there.
                                    deck one ofthe boxes ro the right ~♦
            u Yes ~x N°
                                                                                                        ❑ NO. Continue to Question B.2.

                                                8.2. Do 5096 or more ofthe defendarrts who reside in                             -
                                                                                                          YES_ Your rase will "uxtiaNy be assigned to the Eastern DivisiorL
~ If'no,'skiP to Question C. IF~~answer         the dishid reside in Riverside and/or San Bernardino    ~ Enter'Eastem`in response to Question E, below,and continue
  Question B.~,at right                         CouMles? (Consider the two countles together.)            from there.
                                                check one ofthe boxes ro the ngM     ~                        NO. Your case will i~iti~ally be assigned to the Western Division.
                                                                                                              Enter "Western" to response to Quest{on E,bebw,and continue
                                                                                                              from there.

QUESTION C: Is the United States,or C.7. Do 5096 or more of the plaintiffs who reside in the   yam. Your case will initially be assigned to the Southern Division.
one of its agMdesor employees,a     district reside in Orange Co.?                           ~ ~~•~~m"in response to Question E, below,and continue
DEFENDANT in this actionl                                                                                     from there.
                                                check one ofthe boxes to the right   ~~
              1~
               x Yes ~ No
                                                                                                        ~
                                                                                                        x NO. Continue to Question C1.

                                                C.2. Do 5096 or more ofthe plaintiffs who reside in the   YES. Your case will initially be as~gned to the Eastern Division.
1f'no," sltip to Question D. If'yes,` answer    district reside in Riverside and/or San Bemard'+no      ~ Enter'Eastem'in response to Question E, below,and continue
Question C.t, at right                          Counties? (Consider the two counties together.)           ~~e

                                                check one ofthe boxes to the right   ~~                   NO. Your case will initiaNy be assigned to tfie Western Division►.
                                                                                                        ~
                                                                                                        x Enter "Western" 7n response to Question E, bebw, and continue
                                                                                                          from there.
                                                                                                         A.                         B.                            C.
QUESTION D: Location of plaintiffs and defendants?                                                                           Riverside or San           Los Angeles, Ventura,
                                                                                                  Orange County             Bernardino County           Santa Barbara, a San
                                                                                                                                                         Luis Obispo County
Indipte the locations) in which 5096 a more of plaintiffs who reside in this disfid                                                  ;,
reside. (Check up to two boxes, or leave blank if none of these choices apply.)                        ~                             '~-~
Indicate the locations) in which 5096 or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                       ~                             ~                              ~X
aPP •)

               D.1. Is thtre at feast oRe answer in Column A?                                          D2. Is there at least one answer in Column B?
                                 U Yes          ~ No                                                                          Yes       ~ No
                   9f'yes,' your case will initially be assigned to tf►e                                  Rf "yes,' your case will initially be assigned to tfie
                               SOUTHERN DIVISION.                                                                        EASTERN DIVISION.
    Errter'Southem' in response to Question E, bebw, and continue from there_                             Errter'Eastem' in resporKe to Question ~, be~ow-
                        If "no," go to question D2 to the right.       ■♦                            If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                         ~~ter'Westem' in response to Question E, below.                  j.

QUESTION E Initial Division?                                                           ~                             INfTIAL DMSION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~ `Central District of California United States District Court '~J~,hre~~ O

QUESTION F: Northern CountiesT
Do 5096 or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                      ~ Yes             ~ No
 CY-71(06/24)                                                                 CIVIL COVER SHEET                                                                 Page 2 of 3
                 Case 2:25-cv-00355-AH-JC                             Document 1-1                 Filed 01/10/25                Page 3 of 7 Page ID
                                          UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                      #:190
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IXIa). lDEN77CAL CASES: Has this action been previousty filed in this court?                                                                    ~X    NO           ~ YES

        If yes, Iist case number(s):


IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                               x No
                                                                                                                                               ~                    ❑ irEs
        If yes, Iist case number(s):

                              If yes, you must file a Notice of Related Cases. See Local Rule 83-13.


        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                   C For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent,trademark, or copyright is not, in itself, sufficient to deem cases related.


        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A Arise from the same or a closely related transaction, happening,or even

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C Involve one or more defendants from the criminal casein common and would entail substantial duplication of
                    labor if heard by differentjudges.

X.STATEWIDE OR NATiOFiWIDE RELIEF: does this case seek to bar or mandate enforcement of a state or federal law and seek declaratory
    or injunctive relief on a statewide or nationwide basis?
                                                                                                            ~ NO             I~] YES
                              ff yes,see Local Rule 83-11 for additional requirements.


 XI. SIGNATURE OF ATTORNEY                                                     1~,.,
(OR SELF-REPRESENTED LITIGANT):~                                             ~~~J i.7~~                                             DATE: January 7,2025

Notke to CounseUParties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither repiac~ nor supplements the filing and service of pleadings w other papers as required bylaw,except as provided by local rules of court. For
more detailed instructions,see separate instruction sheet(CV-071 A).



Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                   Substantive Statement a1 Cause of Action
                                                   All claimsfor health insurance benefits(Medicare)under Trde 18.Part A,ofthe Social Severity Act as ansended. Nfso.
        86t                       HIA              include claims by hospitals, sfdlled nursing facilities, etc.,for certification as pro~riders ofservices urtde► tfie program.
                                                   (42 U.S.C.1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under True 4, Part B, of the Federal Coal Mine Heakh and Safety Act of 1969. (30 US.0
                                                   923)
        ~3                       ~~                All claims filed by insured workers fo► disability irtwrance benefits under Trtie 2 of Use Social Security Act, as amended; plus
                                                   afl claims filed far child"s inwrarxe benefPts based on disability. (42 US.0 405 (g)D

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on dlsabllity under Title 2 of the Social Security Act, as
                                                   amended. (42 US.C.405 (g))


        864                       SSID             a! claims fa supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       R51              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 US.0 405 (g))



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                 Case 2:25-cv-00355-AH-JC                                          Document 1-1 Filed 01/10/25                                           Page 7 of 7 Page ID
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